                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 UNITED STATES OF AMERICA                     )
                                              )              NO. 3:11-cr-00020-2
                v.                            )
                                              )              JUDGE HAYNES
 AUSTIN MICHAEL EVANS                         )

 UNITED STATES’ RESPONSE TO MOTION TO MODIFY CONDITIONS OF RELEASE


       The United States of America, by and through the undersigned Assistant United States

Attorney, and hereby submits the following response in opposition to defendant’s motion to

modify conditions of release to allow him to reside at his family home (hereinafter “Motion”). (R.

148, Motion, Page ID# 373-376).

       On April 15, 2013, the defendant pleaded guilty to conspiracy to possess with intent to

distribute cocaine in violation of Title 21, United States Code, Section 846. On July 26, 2013, this

Court sentenced defendant to 60-months imprisonment and three years of supervised release with

special conditions, including placement in a halfway house for 20 months.

       While defendant has apparently complied overall with the conditions of his supervised

release, adhering to those conditions should not automatically serve as a basis for modifying

defendant’s supervised release. The defendant’s modification request would transition him from

the halfway house, where he has resided for only about four months, to his mother’s home where

he would reside with his mother and her husband. The defendant suggests that twenty months in a

residential reentry center environment may be counter-productive and that he is “taking up

valuable bed space at a halfway house which would be better utilized for an inmate matriculating

back to the community after service of long sentence” (R. 148, Motion, Page ID# 374) and who

lacks the type of support network the defendant believes he has in place. The defendant requests




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this modification of supervised release allegedly to have better access to family and to better

pursue potential educational and vocational opportunities.

       Presently, the United States objects to the modification requested and does not believe the

defendant has demonstrated a sufficient reason for modification of supervised release at this time.

Given the nature and circumstances of the offense, the relatively short period of time he has been

on supervision at the halfway house, and to provide the structure and rehabilitation envisioned by

the Court at sentencing, which is apparently having a positive effect to this point, the defendant

should remain under the current conditions of his supervised release for the present time.

                                          CONCLUSION


       WHEREFORE, the United States respectfully requests this Court deny defendant’s motion

to modify conditions of his supervised release at this time.




                                                       Respectfully submitted,


                                                       DAVID RIVERA
                                                       UNITED STATES ATTORNEY

                                                         s/ Philip H. Wehby
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                                  CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of the foregoing document has been
forwarded, via the electronic case filing system, to Peter J. Strianse, on the August 11, 2015.

                                                        s/ Philip H. Wehby
                                                       Philip H. Wehby
                                                       Assistant United States Attorney


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